Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 1 of 11




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    Fort Lauderdale Division

                                      Case No. 20-cv-61456-RS


  ABS HEALTHCARE SERVICES, LLC, a
  Florida limited liability company, and
  HEALTH OPTION ONE, LLC, a Florida
  limited liability company,

                 Plaintiffs,
  vs.

  MAXIM HEALTH INC., a California
  corporation,

              Defendants.
  ________________________________________/

                               SECOND AMENDED COMPLAINT1

         Plaintiffs ABS Healthcare Services, LLC (“ABS”) and Health Option One, LLC

  (“HOO”), doing business as Insurance Care Direct, (collectively, “ICD”), allege upon personal

  knowledge as to their own acts and status and upon information and belief as to all other matters

  as follows:

                                         INTRODUCTION

         1.      ICD, a family-owned business, has been harmed by Defendant Maxim Health

  Inc.’s (“Maxim”) tortious interference with ICD’s business and contractual relations. ICD seeks

  to hold Maxim responsible for its intentional and unjustified actions, and to prevent it from

  further harming ICD’s business.


  1
   Plaintiffs file this Second Amended Complaint in accordance with the Court’s February 8, 2022
  Order [DE 113] directing Plaintiffs to file an amended complaint to “list the citizenship of all
  members of the limited liability companies.” [DE 113] at 2. The only difference between this
  Second Amended Complaint and the First Amended Complaint [DE 65] is in paragraphs 2 and 3,
  where Plaintiffs list the names of the LLC members and their state of residence—Florida.


                                                   1
Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 2 of 11




                                            THE PARTIES

         2.      Plaintiff ABS is a Florida business with Florida residents Arnold Cohen, Bradley

  Cohen, and Seth Cohen as members of the LLC, and operates as a licensed virtual insurance

  agency providing consumers access to benefit products.

         3.      Plaintiff HOO is a Florida business doing business under the name ICD, with

  Florida residents Arnold Cohen, Bradley Cohen, and Seth Cohen as members of the LLC, and

  does business as a licensed general insurance agency that provides marketing and compliance
  support and access to products including, but not limited to, limited medical, short term medical,

  term life, final expense, accidental death, critical illness, dental and discount medical coverage

  and services such as telehealth access to sub-agencies.

         4.      Maxim is a California corporation. Maxim is a health and life insurance agency

  and is in the business of selling limited benefit insurance plans.


                                   JURISDICTION AND VENUE

         5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332, as the

  parties are completely diverse in citizenship and the amount in controversy exceeds $75,000,

  exclusive of interest, costs, and attorney’s fees.

         6.      Maxim is subject to this Court’s jurisdiction pursuant to Fla. Stat.

  § 48.193(1)(a)(1) because it operates, conducts, engages in, or carries on business or business

  venture in this state and pursuant to Fla. Stat. §48.193(1)(a)(2) because it committed tortious acts

  within this state, including by interfering with ICD’s relationships with its Florida-based agents,

  customers, and prospective customers. Maxim has engaged in continuous and substantial

  business activity in the State of Florida. Florida residents account for a significant portion of

  Maxim’s total sales.




                                                       2
Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 3 of 11




         7.      Maxim has had sufficient minimum contacts with the State of Florida including

  by targeting the State by having its agents travel to the State of Florida for business and engaging

  in electronic and telephonic communications relating to business in the State of Florida.

         8.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

  events giving rise to this action occurred within this District.

                                     FACTUAL ALLEGATIONS

         9.      ICD is a family-owned business established in 2001, which has grown into one of
  the nation’s largest health and life insurance general agencies.

         10.     Among other things, ICD offers insurance plans and tailored memberships that

  include health benefits, products, and services (“ICD Plans”) to individuals. The ICD Plans

  include insurance underwritten by a diverse group of benefit companies and insurance carriers.

  ICD provides marketing and compliance support and access to products including, but not

  limited to, limited medical, short term medical, term life, final expense, accidental death, critical

  illness, dental and discount medical coverage and services such as telehealth.

         11.     Individuals become insureds under the ICD Plans by becoming members of the

  association or other group to which a master group insurance policy has been issued by the

  insurance carrier. Association membership also provides access to benefit services such as

  telehealth.

         12.     ICD identifies prospective customers by purchasing “leads” from third parties or

  by acquiring “leads” through a subsidiary. These leads consist of the names of individuals who

  have expressed a desire to obtain health insurance or benefits through insurance plans such as the

  ICD Plans.

         13.     ICD markets to these prospective customers through insurance agencies with

  which it contracts. The insurance agencies are licensed under the laws of the applicable states,

  including Florida. The insurance agencies operate call centers which place calls to the
  prospective customers identified in the leads provided by ICD and market the ICD Plans to them.



                                                    3
Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 4 of 11




         14.     The individuals who staff the call centers and actually make the sales calls to

  prospective customers are insurance agents licensed under the laws of the applicable states,

  including Florida. The agents list their licenses under the insurance agencies that have

  contracted with ICD.

         15.     To market and sell ICD Plans, ICD (or its affiliates) enters into Florida

  agreements with, among others, agents, which authorize agents to market ICD Plans (the

  “Florida ICD Exclusive Agent Agreements”). These agreements are entered into in Florida for

  performance in Florida and elsewhere and are governed by Florida law.

         16.     Pursuant to the Florida ICD Exclusive Agent Agreements, Agents are: (a)

  authorized to solicit customers only for insurance plans marketed and sold by ICD (the “ICD

  Plans”); (b) permitted to use ICD’s confidential and trade secret information only in connection

  with the marketing and sale of ICD Plans; (c) prohibited from inducing ICD’s customers or

  prospective customers to discontinue doing business with ICD; and (d) prohibited from selling or

  offering to sell non-ICD Plans.

         17.     The Florida ICD Exclusive Agent Agreement contains the following provisions:

  confidentiality; non-solicitation; exclusivity, and non-disclosure.

         a)      Confidentiality: Agents agree to use ICD’s “Confidential Information only for the

         purpose for which it was disclosed and only to carry out the provisions of this Agreement
         . . . not [to] disclose [ICD’s] Confidential Information to third parties unless necessary to

         meet its obligations under this Agreement, and then only to a third party similarly bound

         by the same privacy standards and agreements . . . [to] continue to treat the other party’s

         Confidential Information in this manner even after termination of this Agreement” (§

         XII(C)).

         b)      Non-Solicitation: Agents agree “not induce or attempt to induce any benefit

         providers, carriers, customers, employees, licensed agents, representatives, agencies of

         record and/or any agents of record to discontinue their association with ICD.” (§ XIII).




                                                   4
Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 5 of 11




         c)      Exclusivity: Agents agree that “the relationship between ICD, its customers,

         benefit providers, carriers, agencies, and/or agents are unique and agrees not to contact

         those customers, benefit providers, carriers, agencies and/or agents for commercial

         purposes other than on behalf of ICD for the entire term of this Agreement and for a

         period of twenty-four months upon termination of the [sic] this Agreement.” (§ XII(F)).

         d)      Mutual Non-Disclosure: Agents agree they obtain Confidential Information “for

         the sole purpose of exploring, developing and conducting business [with ICD].” (Mutual

         Non-Disclosure Agreement § 2).

         e)      All materials provided by ICD to Agents “shall be used exclusively in the

         performance of this Agreement and may not be used or distributed for any other

         purpose.” (§X (J)).

         f)      Confidential information includes ICD’s: (i) customer information (§XII(A)); and

         (ii) business plans and processes, customer lists, products and intellectual property

         (§XII(B).

         18.     Agents are compensated for selling benefit plans only on behalf of ICD.

         19.     Maxim was formed in 2017 for the purpose of inducing, facilitating, profiting

  from and concealing the breach by Agents and others of their duties and obligations to ICD

  individually by directly competing with ICD in selling non-ICD products to customers. It did so
  using and disclosing ICD’s confidential information and trade secrets to illicitly compete with

  ICD, soliciting and inducing ICD’s actual and prospective customers to not do business with

  ICD, and instead to do business with Maxim and others selling products of similar type to those

  that ICD markets.

         20.     In inducing, facilitating, profiting from, and concealing the breach by Agents and

  others of their duties and obligations to ICD, and in soliciting and inducing ICD’s actual and

  prospective customers to not do business with ICD, and instead to do business with Maxim and

  others selling products of similar type to those that ICD markets, including by using and
  disclosing ICD’s confidential information and trade secrets to illicitly compete with ICD, Maxim


                                                  5
Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 6 of 11




  acted in concert with, among others, Florida residents Andrew Shader, Corey Shader, and Adam

  Beeman and two Florida corporations, National Health Solutions Inc. (“NHS”) and Kratos

  Investments LLC (“Kratos”).

         21.     Florida residents, including the Shaders and Beeman, and Florida companies,

  including Kratos, provided the funding that allowed Maxim to engage in its illicit activities.

         22.     Contemporaneous text messages from the phone of a now-deceased participant in

  Maxim’s scheme, Brett Mason, lay bare how Maxim sought to interfere with ICD’s agents and

  business relations. The text messages show that Maxim began its operations under the radar,

  including through the use of aliases, in order to hide its illicit competition from ICD.

         23.     In this suit, ICD seeks to recover damages resulting from Maxim’s illegal activity

  that is depriving ICD of customers and revenue and harming its business.

          COUNT I: TORTIOUS INTERFERENCE WITH AGENT AGREEMENT

         24.     ICD incorporates the allegations set forth in Paragraphs 1 through 23.

         25.     The Florida ICD Exclusive Agent Agreement is a valid and binding contract

  between ICD and its agents, and includes provisions requiring confidentiality, non-solicitation,

  and exclusivity.

         26.     At all material times, Maxim was aware of the Florida ICD Exclusive Agent

  Agreement, including the confidentiality and non-compete provisions
         27.     Maxim committed intentional acts designed to induce a breach of the contractual

  relationship between ICD and its Agents and others by soliciting and causing its Agents to

  breach their contractual and fiduciary obligations to ICD, including exclusivity, non-solicitation,

  and confidentiality provisions of the Florida ICD Exclusive Agent Agreement.

         28.     Maxim’s conduct in fact resulted in the breach of the Florida ICD Exclusive

  Agent Agreement when ICD’s Agents violated the exclusivity, non-solicitation, and

  confidentiality provisions of the agreement by using ICD’s confidential information to market
  and sell the products that ICD sells to ICD’s current and potential customers.



                                                    6
Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 7 of 11




         29.     Maxim’s interference was intentional and unjustified.

         30.     ICD has been and continues to be damaged as a result of Maxim’s tortious

  interference with the Florida ICD Exclusive Agent Agreement.

      COUNT II: TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIPS
         31.     ICD incorporates the allegations set forth in Paragraphs 1 through 23.

         32.     At all relevant times, ICD had an economic relationship with, among others, its

  Agents, customers and prospective customers, call centers, insurance carriers, lead generators,

  and administrators.
         33.     ICD has economic relationships with individuals that were members of the ICD

  Plans as a result of ICD’s marketing and related efforts.

         34.     ICD generated and acquired leads to prospective customers to market its plans for

  insurance products (the “leads”).

         35.     Through the acquisition and development of leads to customers, ICD has a

  protectable business relationship with consumers identified in leads, which constituted

  identifiable prospective customers of ICD who could have participated in an ICD plan but for

  being offered a competitive product by Maxim. But for Maxim’s conduct, there is a significant

  probability that these customers would have purchased insurance products from ICD, resulting in

  an economic benefit to Plaintiff.

         36.     Maxim improperly interfered with ICD’s relationships with call centers, including

  by soliciting and inducing ICD’s Agents to breach their contractual and fiduciary obligations to

  ICD, improperly recruiting agents away from call centers, improperly inducing individuals who

  ran and/or operated ICD exclusive call centers to open and operate call centers associated with

  Maxim instead of fulfilling their obligation to operate ICD call centers, and otherwise.

         37.     Maxim improperly interfered with ICD’s business relationships with lead

  generation companies, including by illicitly establishing sham competing entities, improperly
  diverting leads from ICD and its affiliates, and otherwise.




                                                   7
Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 8 of 11




         38.     Maxim improperly interfered with ICD’s business relationships with

  administrators, including by improperly entering into relationships with those administrators to

  the detriment of ICD’s relationships with those administrators and by otherwise engaging in

  improper conduct that harmed ICD’s relationships with those administrators.

         39.     ICD has legal rights under these existing and prospective business relationships.

         40.     At all material times, Defendant was aware of ICD’s current and prospective

  business relationships.

         41.     Defendant interfered with these business relationships, including by inducing or

  otherwise causing existing prospective customers to not do business with ICD.

         42.     Defendant’s actions were intentional and unjustified. ICD has been and continues

  to be damaged as a result of Defendant’s tortious interference with its business and actual

  prospective customers, call centers, insurance carriers, and lead generators.

   COUNT III: MISAPPROPRIATION OF TRADE SECRETS FL Stat. Ch. 688 AND THE
                   DEFEND TRADE SECRET ACT 18 USC §1836
         43.     ICD incorporates the allegations set forth in Paragraphs 1 through 23.

         44.     Defendant has misappropriated trade secrets under the Florida Uniform Trade

  Secrets Act Chapter 688 and The Defend Trade Secrets Act, 18 U.S.C. 1836, et seq.

         45.     ICD’s Agents agreed to use ICD’s confidential information (“Confidential

  Information”) “only for the purpose for which it was disclosed and only to carry out the

  provisions of this Agreement,” and to continue to treat ICD’s Confidential Information “in this

  manner even after termination of this Agreement.” (§ XII(C)).

         46.     In order to allow ICD’s Agents to perform their duties under the Florida ICD

  Exclusive Agent Agreement, ICD furnished them with trade secret information (“Trade

  Secrets”).

         47.     The Trade Secret information included, but is not limited to, recruitment

  strategies, agency and agent on-boarding methods, proprietary business information, rating
  models, product specifications, product design, actuarial models, underwriting guidelines,



                                                   8
Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 9 of 11




  customer names, customer lists, proprietary prospect generation platform intellectual property,

  proprietary marketplace intellectual property, portals granting access to carrier products, third-

  party and association benefit products, market information, market share data, marketing plans,

  product design and pricing strategies, product or service ideas or plans access, ICD sub-agency

  introductions and sales meeting content, producer compensation plans (e.g., commission

  structure and advances), introductions to third-party insurers vendors, introductions to insurers

  for insurer agreements and insurer appointments, licensing strategy and design, technical sales

  support for enrollment platforms, data, know-how, research, and any documents, reports, notes,

  analyses, compilations, studies, interpretations, copies, or other materials that contain or are

  based upon trade secrets.

         48.     ICD’s Agents agreed not to disclose the Trade Secret information to third parties

  without prior written consent of ICD and agreed not to use ICD’s Confidential Information and

  Trade Secrets “to develop any product or service, which is the same as or similar to any product

  or service sold on behalf of ICD” and that they “shall not divulge in any manner whatsoever the

  methods ICD utilizes to anyone other than agent or agency of record.” (§ XII(F)). Maxim,

  through ICD’s Agents and others, wrongfully accessed and utilized ICD’s Trade Secrets.

         49.     ICD’s Agents also entered into a Mutual Non-Disclosure Agreement with ICD

  (“NDA”) in which they agreed that they would use ICD’s Confidential Information and Trade
  Secrets only in connection with the performance of the ICD Exclusive Agent Agreement and not

  for his own commercial gain in competition with ICD. (NDA ¶ 6). Maxim, through ICD’s

  Agents and others, wrongfully utilized ICD’s Confidential Information and Trade Secrets.

         50.     ICD’s Agents acknowledged and agreed that use of ICD’s Confidential

  Information other than as permitted under the ICD Exclusive Agent Agreement would cause ICD

  irreparable harm for which it would not have an adequate remedy at law, and such improper use

  of ICD’s Confidential Information would entitle ICD to pursue injunctive relief and money

  damages. (NDA ¶ 7).




                                                    9
Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 10 of 11




          51.       ICD’s Agents had access to ICD’s Trade Secrets and provided that access to

   Maxim.

          52.       The Trade Secrets were developed by ICD through substantial effort and expense.

          53.       ICD derives significant economic value from the Trade Secrets, which are not

   generally known and not readily ascertainable by, other people who may be able to obtain

   economic value from their disclosure.

          54.       ICD has taken reasonable steps to maintain the secrecy and confidentiality of the

   Trade Secrets, including through agreements that prohibit disclosure and unauthorized use of the

   Trade Secrets.

          55.       Defendant knew of the existence of the Trade Secrets at all material times.

          56.       Defendant has misappropriated the Trade Secrets by and through improper means

   by, among other things, by using the Trade Secrets to solicit and poach ICD’s actual and

   prospective customers and entities having business relationships with ICD. Defendant knew, or

   had reason to know, the Trade Secrets were obtained by improper means.

          57.       Defendant’s misappropriation of the Trade Secrets has damaged (and continues to

   damage) ICD.

                                          PRAYER FOR RELIEF

                    WHEREFORE, Plaintiffs respectfully requests the following relief:
          1.        A jury trial for those issues so triable;

          2.        An award of compensatory and punitive damages in an amount in excess of

                    $75,000 to be proved at trial;

          3.        Disgorgement of revenues, profits and unjust enrichment derived from

                    Defendant’s injurious conduct;

          4.        All costs and expenses to which ICD is entitled, including reasonable attorneys’

                    fees to the extent permitted by law;

          5.        Prejudgment and post judgment interest;




                                                       10
Case 0:20-cv-61456-RS Document 114 Entered on FLSD Docket 02/14/2022 Page 11 of 11




          6.     An injunction preventing Maxim, acting through its employees and/or agents,

                 from using ICD’s trade secrets; and

          7.     Such other and further relief the Court deems appropriate.

                                  DEMAND FOR JURY TRIAL

                 ICD demands a trial by jury on all issues so triable.



   Dated: February 14, 2022                                    Respectfully submitted,

                                                       BOIES SCHILLER FLEXNER LLP


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                                                  11
